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                     UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION



STEVE STAPLETON, JR., et al.,

            Plaintiffs,

v.                                             Cv. No. 08-2886-Ma

MONUMENTAL LIFE INSURANCE
COMPANY,

            Defendant.



                              JUDGMENT

     Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision
has been rendered.

     IT IS ORDERED AND ADJUDGED that this action is dismissed
without prejudice, in accordance with the Order of Dismissal,
docketed February 11, 2009.


APPROVED:

S/ Samuel H. Mays Jr.
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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

March 3, 2009                            THOMAS M. GOULD
DATE                                     CLERK
                                         S/ Jean Lee
                                         (By) DEPUTY CLERK
